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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      v.                             ) Crim. Action No. 17-0201-01 (ABJ)
                                    )
PAUL J. MANAFORT, JR.               )
                                    )
                  Defendant.        )
____________________________________)

                                   SCHEDULING ORDER

       After considering the matters discussed at the status conference held in this case on

February 28, 2018, it is ORDERED that any previous scheduling orders in the case are vacated,

and that the following schedule will govern further proceedings in the case:

   1) Any defense motion to dismiss pursuant to Fed. R. Crim. Proc. 12(b)(3)(A) or (B) must
      be filed by March 14, 2018; the opposition will be due on March 28; and the reply will be
      due on April 4. A hearing on the motion will be held on April 19, 2018 at 9:30 a.m.

   2) Other pre-trial motions, including any motion for a bill of particulars under Fed. R. Crim.
      Proc. 7(f), motions to suppress statements or evidence under Fed. R. Crim. Proc.
      12(b)(3)(C), and motions to sever charges under Fed. R. Crim. Proc. 12(b)(3)(D) and 14
      must be filed by April 6, 2018; oppositions will be due on April 23; and replies will be due
      on May 4. A hearing on the motions will be held on May 23, 2018 at 9:30 a.m. and the
      hearing will be continued on May 24 if necessary.

   3) The government’s notice of its intention to introduce evidence under Fed. R. Evid.
      404(b) must be filed by June 15, 2018; the opposition will be due on June 29; and the reply
      will be due on July 9. A hearing on the motion, if necessary, will be held on July 24, 2018
      at 9:30 a.m.

   4) Motions in limine on behalf of either party must be filed by July 9, 2018; oppositions will
      be due on July 23; and replies are due on July 30.

   5) On July 16, 2018, the parties must jointly file a list of proposed questions to be included
      in the written jury questionnaire that indicates:

           i. the questions on which the parties agree; and



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           ii. the questions on which the parties disagree, with specific objections noted below
               each disputed question and supporting legal authority (if any). 1

    6) The parties must jointly file a single Joint Pretrial Statement by August 1, 2018;

    7) The pretrial conference will be held on September 5, 2018 at 9:30 a.m.

    8) Trial will commence on September 17, 2018 at 9:30 a.m. NOTE: the Court will not sit on
       Wednesday, September 19.

       Any motion to extend a date for the submission of a pleading to the Court must be filed at

least two business days before the date to be extended.

       All pleadings must conform to the requirements concerning formatting and fonts set forth

in Local Civil Rule 5.1(d).

                               JOINT PRETRIAL STATEMENT

       The Joint Pretrial Statement must include: 2

       a) a concise joint statement of the case for the Court to read to prospective jurors;

       b) an estimate of the number of days the trial is anticipated to last;

       c) a list of all outstanding motions in limine;


1      This order assumes that the parties are both requesting that the Court utilize a jury
questionnaire to facilitate voir dire in this case. If either the Office of Special Counsel or the
defendant is opposed to such a procedure, the objecting party must notify the Court on or before
March 7, and the Court will set a schedule for submitting pleadings on that issue. Proposed
questions should call for short answers – preferably yes or no answers, or responses that involve
checking boxes, where possible. The prospective jurors will be required to appear at the
courthouse in advance of trial to complete the questionnaire, and the parties will have the
opportunity to move to strike jurors for cause based on their written answers before the trial begins.
The remaining potential jurors will be questioned individually in the courtroom beginning on
September 17. Further instructions and the dates for the completion of the questionnaire and the
submission of motions to strike for cause will be the subject of a future order.
2       In the event the Court rules that it will not utilize a written jury questionnaire, the Joint
Pretrial Statement must also include proposed voir dire questions that indicate:
           i. the voir dire questions on which the parties agree; and
           ii. the voir dire questions on which the parties disagree, with specific objections noted
               below each disputed question and supporting legal authority (if any).

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      d) proposed jury instructions that indicate:

         i. the instructions on which the parties agree; and

         ii. the instructions on which the parties disagree, with specific objections noted below
             each disputed instruction and supporting legal authority.

         iii. Any agreed or proposed instructions contained in the Standardized Criminal Jury
             Instructions for the District of Columbia need not be separately provided but should
             be identified by number. Any other proposed instructions must be provided to the
             Court in their entirety and should be formatted so that each individual jury
             instruction begins on a new page, with the source and supporting authority noted at
             the bottom of the page, followed by any objections and the grounds therefor.

      e) a list of expert witnesses, if any, accompanied by a brief description of each witness’
         area of expertise and expected testimony, followed by specific objections (if any) to
         each witness;

      f) a list of prior convictions, if any, that the government intends to use for impeachment
         or any other purpose, followed by any specific objections to that use;

      g) a list of exhibits that each party intends to offer during trial. The list should identify
         each exhibit by number and include the date and title (or description) of the exhibit,
         and it must identify any exhibit to which there is an objection and the basis for the
         objection. The list must be accompanied by numbered copies of the exhibits, to be
         delivered to chambers on August 1 in electronic form on disk and in paper form in a
         binder or set of binders. (Binders may not be larger than 3 inches.) Exhibits will be
         presumed authentic unless an objection to their authenticity is noted on the Joint Pretrial
         Statement.

      h) any stipulations, signed by counsel and the defendant;

      i) a list of any matters of which the parties seek the Court to take judicial notice,
         along with the proposed language; and

      j) a proposed verdict form, as well as proposed special interrogatories (if any), that
         includes a date and signature line for the jury foreperson.

      SO ORDERED.




                                             AMY BERMAN JACKSON
DATE: March 1, 2018                          United States District Judge


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